Case 1:24-cr-00185-HYJ ECFNo.1, PagelD.1 Filed 11/22/24 Pageiofi

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Western District of Michigan

United States of America )
Vv. )
Tyrone Munoz and ) Cass:No. .
Raul Robledo 1:24-mj-00507
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief,
On or about the date(s) of | November 21,2024 ~——_—_siinthecountyof =————sKent’ ——_—_siinthe
Western Districtof === Michigan —_, the defendant(s) violated:
Code Section Offense Description

21 USC §§ 841(a)(1), 841(b)(1)(C) Possession with intent to distribute cocaine.

This criminal complaint is based on these facts:

#% Continued on the attached sheet.
The Court processed the complaint remotely. The Court <—LA LE
verified the Affiant's identity (by AUSA confirmation and Sa
through Affiant self-identification). Affiant attested to the
affidavit and complaint via telephone, which the AUSA
transmitted by remote electronic means (e-mail), The Court _
signed the original complaint and transmitted a correct copy

of same to the Applicant, via the AUSA, by remote electronic
means (e-mail). The process complied with Rules 3 and 4.1.

Date: 11/22/2024 <S.

Grand Rapids, Michigan

Complainant's signature

_DEA Special Agent Daniel Saldana

Printed name and title

Judge 's signature

Ray Kent, U.S. Magistrate Judge

City and state:

Printed name and title
